                                                                                                        If




                 IN THE CIRCUIT COURT OF CASS COUNTY,MISSOURI

JASON D.ROBERTS                                     )
      4735 Richmond Avenue
      Kansas City, Kansas 66102                             Case No.


                              Plaintiff,                    Division


V.




CASEYS MARKETING COMPANY,
       Serve;
       THE CORPORATION COMPANY
       INC., Resident Agent
       120 South Central Avenue
       Clayton, Missouri 63105


                              Defendant.

                                 PETITION FOR DAMAGES


       Plaintiff Jason D.Roberts, by and through the undersigned counsel, and for his claims for
reliefagainst Defendant Case's Marketing Company,states, alleges, and avers as follows:
                                           THE PARTIES


       1,       At all relevant times, Plaintiff was and is an individual and resident ofKansas City,
^^^andotte County, Kansas.

       2.       At all relevant times, Defendant was and is a Foreign For-Profit Organization
registered to do business in the State of Missouri that owned and operated a gas station located at
6909 E. 163rd Street, Helton, Missouri 64012 (the "Store"). Defendant may be served via its
 resident ^ent at The Corporation Company,Inc., located at 120 South Central Avenue, Clayton,
 Missouri 63105.




                                                 EXHIBIT




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       3.       This Court has personaljuristhction over Defendant in this matter pursuant to
Section 506.500 ofthe Missouri Revised Statutes.

       4.       This Court has subject matter jurisdiction in this matter.

       5.       Venue is proper per Section 50S.010 ofthe Missouri Revised Statutes.
                                     FACTS COMMON TO ALL COUNTS

       6.       On November 2,2019,Plaintiffwas a business invitee at the Store, when he slipped
on a substance on the floor,thereby causing him to fall(hereinafter the "Incident ).
        7.      The area in which Plaintifffell was wet,but had no warnings or signage posted just
prior to his fall.

        8.       At all relevant times hereto,the Incident site presented an unsafe condition and was
                                 \




not reasonably safe as a result ofone or more ofthe follow'ing: the wetness or substance(s)on the
floor;lack of warning; comporition ofthe floor; or other reasons not known at this time.
        9.       Plaintiff was unaware ofthe unsafe conditions before falling at the Incident site.
         10.     The acts and omissions ofDefendant were carried out by its agents,servants,and/or

employees, acting within the course and scope 6ftheir employment with Defendant.
                                      COUNT I > NEGLIGENCE

         i 1.    Plaintiff hereby incorporates by reference all preceding iallegations of Plaintiff's
 Petition for Damages as iffully set forth herein.

         12.     At all relevant times herein, Defendant maintained control and maintenance ofthe

 area where the Incident occurred.

         13.     Defendant owed a duty to exercise reasonable care to ensure itis property w^ in a
 reasonably s^e and suitable condition for invitees, including Plaintiff.

         14.     At the time of the Incident, the area where the Incident occurred constituted a

 dangerous condition.




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       15. . Defendant knew or should have known through the exercise ofreasonable care that

Ihe condition of the soda fountain area of the store at the date and time of the Mcident was not

reasonably safe and/or was dangerous.

       16.      Alternatively, Defendant negligently created the unsafe condition or so caused it to
be created by negligently maintaining the premises,such that Defendant was deemed to have had
actual notice ofsaid unsafe condition.

       17.      Defendant breamed its duty to PlaintifF.when it failed to keep its property in a
condition that was reasonably safe for Plaintiffand other invitees, and fiirther by Ruling to remedy
or warn Plaintiffofsaid dangerous condition.

        18.     As a direct and proximate result ofthe aforesaid negligence ofDefendant,Plaintiff
was injured and has suffered aiid will continue to suffer damages including, but not limited to,
those arising from:

                a.     Past medical and hospital expenses;

                b.      Future medical, hospital and life care expenses;

                c.      Past lost wages;

                d.      Diminished earning capacity;

                e.      Past and future emotional distress;

                f.      Pain and suffering;

                g.      Mental anguish;

                h.      Disfi^ement;and

                i.      Past and future loss ofenjoyment oflife.

        19.     All of Plaintiffs injuries, disabilities, infirmities, and damages are permanent,

 painful, and progressive in nature and extent




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       WHEREFORE,based on the foregoing, Plaintiff prays for ajudgment against Defendant
for money damages in excess of$75,000;Plaintiff's costs incurred herein; and* for such other and
further relief as the Court deemsjust and proper.

                                DKMAND FOR A JURY TRIAL

       Plaintiffhereby demands a trial by juiy on all counts and ctos in this cause ofaction.
                                             Respectfully submitted,

                                             DIPASQUALE MOORE,LLC

                                           • /s/David L Johnson
                                             David L,Johnson                     ^61867
                                             4050 Pennsylvania Ave., Suite 121
                                             Kansas City, MO 64111
                                             Phone:(816)888-7500
                                             Fax: (816)888r7519
                                             E-mail: dave.johnson@dmlawusa.com
                                              ATTORNEY FOR PLAINTIFF




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                 IN THE 17TH JUDICIAL CIRCUIT,CASS COUNTY, MISSOURI

Judge or Division:                                                      Case Number: 21CA-CC0D017
R. MICHAEL WAGNER
Plaintiff/Petitioner                                                    Plalntlfrs/Petllioner's Attorney/Address
JASON D ROBERTS                                                         DAVID LAWRENCE JOHNSON
                                                                        4050 PENNSYLVANIA AVE
                                                                        SUITE 121
                                                            vs.         KANSAS CITY. MO 64111
Defendant/Respondent;                                                   Court Address:
CASEVS MARKETiNG COMPANY                                                Cass County Justice Center
                                                                        2501 West Mechanic
Nature of Suit
                                                                        HARRISONViLLE, MO 64701                                              mate Fite Stamp)
CC Pars injurv-Other
                                                            Summons In Civil Case
 The state of Missouri to: CASEY'S MARKETiNG COMPANY
                                      Alias:
 SERVE AT THE CORPORATION COMPANY
 1203 CENTRAL AVE
 CUYTON,MO 83105
      COURTSEAL OF                     You are summoned to appear before this court and to file your pleading to the petitloni a
                                       copy of which Is attached,and to serve a copy of your pleading upon the attorney for
                                       plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                       exclusive ofthe day of service. If you fall to file your pleading,Judgment by default may
                                       be taken against you for the relief demanded In the petition.

          CASS COUNTY
                                                   I /s/ Kim York,arcuit Clerk,1/21/2021,04:11 PM
                                                            Date                                                           Clerk
                                        Further Infonnation:
                                                               Sheriffs orServer's Return
     Note to serving officer Summons should be returned to the court within 30 days after the date of Issue.
     I certify that I have served the above summons by:(check one)
   .D delivering a copy ofthe summons and a copy of the petition to the defendantfrespondent.                             j ♦
    □ leawng a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           .                                                                           . a person of the defendant's/respondent's family over the age of
               15 years who permanently resides with the defendant/respondent
     □ (for service on a corporation) dellvenng a copy of the summons and a copy of the complaint to:
                                                                                 fname)                                '                                .(title).
     □ other
     Served at.                                                                                                                                      (address) .

     in    •                                       . (County/City of St. Louis), MO, on,                                        (date) at,               (time).


                        Printed Name of Sheriff or Server                                                         Signature of Sheriff or Server
                                     Mi^ be sworn before a notary public. If not served by an authorized officer:
                                     Subscribed and sworn to befbre me on                                                           (date).
                (SeaO
                                      My commission expires:
                                                                                Date                                            Notary Public
   Sheriffs Fees, If applicable
   Summons                             $.
   Non Est                             $.
   Sheriff's Deputy Salary
   Supplemental Surcharge              $.      10.00
   Milage                                                          ,C         miles @ $._        per mile)
   Total                               $                       .
    A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
    classes of suits, see Supreme Court Rule 54.                                                                            •


OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-42                          1 of 1               CMl Procedure Form No. 1; Rules 54.01 - 54.05,
                                                                                                             54.13, and 54.20; 508.120 - 506.140. and 506.150 RSMo
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